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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

WAC() DIVISION

HENRY HUBBARD, JR., §
Plaintiff §
§

v. § CIVIL NO. 6:15-CV-00089
§
SAFECO INSURANCE COMPANY OF §
INDIANA AND MICHAEL MATTAMMAL §

Defendants §

NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. 88 1332 and 1441(a) (DIVERSITY)

TO THE HONORABLE JUDGE OF SAID COURT:

Defendants Safeco Insurance Company'of Indiana (“Safeco”) and Michael Mattammal
hereby petition this Court pursuant to 28 U.S.C. §§ 1332 and 1446 for removal, on the basis of
diversity jurisdiction, to the United States District Court for the Western District of TeXas, Waco
Division, of the action styled Henry Hubbam’, Jr. v. Saj%co Insurance Company of Ina'iana and
Michael Maz‘tammal,' Cause No. 275,399-€, currently pending in the 169th Judicial District Court
of Bell County, Texas (the “State Court case”) and in support thereof Would respectfully show

this Court as folloWs:

I.
FACTS

l. Plaintiff filed suit in the State Court Case on February 6, 2015, as the result of
disputes regarding a claim made under his homeowners’ insurance policy. Plaintiff alleges that
Safeco breached the contract of insurance With Plaintiff by failing and refusing to “properly pay
Plaintiff proceeds of the Policy.” Plaintiff’ s Original Petition (the “Petition”) at 11 VI(I). Plaintiff
alleges that Safeco violated the TeXas Deceptive Trade Practices Act, engaged in unfair

settlement practices, violated the prompt payment provisions of the Texas Insurance Code, and

 

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breached the duty of good faith and fair dealing. Petition at pp. 3-ll. Plaintiff seeks economic
damages, including but not limited to, the cost to repair his home, investigative and engineering
fees, consequential damages, 18% per annum penalty, attorney’s fees, punitive damages, treble
damages, exemplary damages, costs of court, prejudgment interest post-judgment interest and
attorneys’ fees. Safeco denies Plaintiffs claims and denies that Plaintiff is entitled to these
benefits or damages.

2. Safeco and Michael Mattammal were Served with Plaintiff’s Original Petition and
citation on February l2, 2015. On March 6, 2015, Defendants filed their Original Answer. True-
and correct copies of all pleadings, process, orders, and correspondence served in this action are
attached hereto as Exhibit “A” and incorporated herein by reference

3. Pursuant to Tex. R. Civ. P. 47, Plaintiff pled in his Original Petition that he is
seeking damages of more than 3100,000.00 but not more than $200,000.00. Petition at 1111 and
IV.

4. Complete diversity exists between the Plaintiff and Safeco now and so existed on
the date of filing of the State Court case. Plaintiff is a citizen and resident of the State of Texas.
Safeco is incorporated in Indiana and has its principle place of business in the Comrnonwealth of
Massachusetts. Therefore, Safeco is a citizen of lndiana and Massachusetts and not Texas.
Defendant Michael Mattammal is a Texas resident and was improperly joined to defeat diversity
of citizenship jurisdiction.

5. Plaintiff made a jury demand in the State Court case.

6. This action is a civil action which may be removed to this Court by Safeco

pursuant to the provisions of 28 U.S.C. §§ l44l(a) and l332(a) in that it is between citizens of

 

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different states and wherein the amount in controversy exceeds the sum of $75,000.00, exclusive

of interests and costs.
II.
DEFENDANT MICHAEL MATTAMMAL IS IMPROPERLY
J()INED TO DEFEAT DIVERSITY JURISDICTION

7. The test for improper joinder is whether the defendant has demonstrated that there
is no possibility of recovery by the plaintiff against an in-state defendant and there is no
reasonable basis for predicting that the plaintiff might be able to recover against an in-state
defendant Smallwood v. Illz'nois Central Raz'lroad Co., 385 F.3d 568 (Sth Cir. 2004). A
reasonable basis means more than a mere hypothetical basis. See Griggs v. State Farm Lloyds,
181 F.3d 694, 701 (Sth Cir. 1999). If there is no reasonable basis for recovery, then the court can
conclude that the plaintiffs decision to join the in-state defendant was improper. McDonala' v.
Abbot Labs, 408 F.3d 177, 183 (5th Cir. 2005).

8. Whether a plaintiff has stated a valid cause of action depends upon and is tied to
the factual fit between the plaintiffs allegations and the pleaded theory of recovery. Griggs v.
State Farm Lloyds, 181 F.3d 694, 701 (Sth Cir. 1999). The Grz'ggs court required that the petition
state specific “f_acts_ warranting liability” in order to defeat removal. Id. (emphasis added).
“General, undocumented and non-specific statements” in the plaintiffs petition are insufficient
to state claims for violations of the Insurance Code, the DTPA, common law fraud, and
misrepresentation under Texas law. Id at 702. Further, in order to defeat removal, the plaintiff
must allege independent acts by the adjuster that violate the Insurance Code or DTPA. See
Green v. Nal.‘z'onwz`de Mut. Ins. Co., 2014 WL 6991277 at *4-*5 (W.D. Tex. Dec. 11,
2014)(citing Hornbuckle v. State Farm Lloyds, 385 F.3d 53 8, 544 (Sth Cir. 2004)). In this case,

Plaintiff has not pled any factual allegations regarding Defendant Michael Mattammal that could

 

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form the basis of an independent cause of action against him as opposed to the carrier. Plaintiff
has alleged only that the claim was assigned to Mattammal for an inspection and that Mattammal
prepared an estimate which underscoped the damage See Petition at jj Vl (E)-(G). Plaintiff does
not identify any false, misleading or deceptive acts by Mattammal. Thus, Plaintiff has filed suit
against Mattammal for the same reason that Plaintiff filed suit against Safeco: he is unhappy
with the amount Safeco paid to settle his claim. This is not Sufficient to establish a reasonable
probability of recovery against Mattammal. Green, 2014 WL 6991277 at *5 (finding improper
joinder of adjuster defendant based on allegation that adjuster “failed and refused . . . to pay
underinsured motorist benefits under the applicable policy” and that adjuster “wholly failed to
make a reasonable and fair offer on [the insured’s] claim.”) Texas law does not contemplate that
adjusters like Mattammal will be held individually liable for the insurance carrier’s decision on a
claim. See Ardila v. State Farm Lloyds, 2001 WL 34109 378 (S.D. Tex. 2001) (citing Cojj”man
v. Scott Wez.‘zel Servz'ces, Inc., 908 S.W.2d 516 (Tex.App.-Fort Worth 1995, no writ) for
proposition that adjusters do not have liability under the DTPA for lack of good faith in
processing insurance claims). Defendant Michael Mattammal has been improperly joined for the
sole purpose of defeating diversity jurisdiction in this Court.

III.
PROCEDURAL RE()UIREMENTS

9. Pursuant to 28 U.S.C. § l446(d), written notice of filing of this Notice will be
given to all adverse parties promptly after the filing of this Notice,

10. Pursuant to 28 U.S.C. § l446(d), a true and correct copy of this Notice will be
filed with the clerk of the 169th Judicial District Couit of Bell County, Texas promptly after the

filing of this Notice. ,

 

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11. Attached hereto and incorporated herein, are the following items:

Exhibit A: A true and correct copy of all pleadings, process, and orders served
in this action.

Exhibit B: State Court docket sheet.
Exhibit C: List of all counsel of record.
Exhibit D: Index of all documents filed with the Court.
WHEREFORE, PREMISES CONSIDERED, Defendants Safeco Insurance Company of
Indiana and Michael Mattamrnal request that this action be removed from the 169th Judicial
District Court of Bell County, Texas to the United States District Court for the Western District

of Texas, Waco Division, and that this Court enter such further orders as may be necessary and

appropriate
Respectfully submitted,

HANNA & PLAUT, L.L.P.

211 East Seventh Street, Suite 600
Austin, Texas 78701

Telephone: (512) 472-7700
Facsimile: (512) 472-0205

By: /s/ Laura D. Tubbs
Catherine L. Hanna
State Bar No. 08918280
Email: channa@hannaplaut.com
Laura D. Tubbs
State Bar No. 24052792
Email: ltubbs@hannaplaut.com

/ ATT()RNEYS FOR DEFENDANTS

 

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing document has been
forwarded via facsimile on this 16th day of March, 2015 to:

Via Facsimile (210) 305-4219

Wes Holland

William N. Allan, IV

Allan, Nava, Glander & Holland, PLLC

825 W. Bitters Road, Suite 102

San Antonio, Texas 7 8216

Attorneysfor Plaz`m‘z`jjf
/s/ Laura D. Tubbs
Laura D. Tubbs

 

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EXHIBlT “A”

 

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Joanna Staton, District Clerk

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HENRY HUBBARD, JR. IN THE DISTRICT COURT
Plaintiff ~

vs. ‘
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coMPANY or iNi)iANA

AND MICHAEL MATTAMMAL
Defendants

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BELL COUNTY, TEXAS
, PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES HENRY HUB`BARD, JR. (“Plaintiff”), complaining of SAFECO
INSURANCE COMPANY OF INDIANA (“Safeco”) and MICHAEL MATTAMMAL (“Mr.
Mattarnmal”) (collectively, “Defendants”), and for such cause of action respectfully shows unto
the Court and Jury as follows: ;

` I. DISCOVERY CONTROL PLAN

Plaintiff currently seeks monetary relief over $100,000, but not more than $200,000.
Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas Rules of
Civil Procedure. This case involves complex issues and will require extensive discovery.
Therefore, Plaintiff asks the Court to order that discovery be conducted in accordance with a
discovery control plan tailored to the particular circumstances of this suit.

Il. PARTIES
i`>iaimirf, HENRY HUBBARD, JR., is a resident OrB@ii counry, Texas,
Defendant, SAFECO lNSURANCE COMPANY OF INDIANA, is a corporation .

engaged in the business of insurance in this state. lt may be served with process by serving its

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registered agent, Corporation Service Company; by certified mail, return receipt requested, at
211 East 7th Street, Suite 620, Austin, TX 78701-3218. Plaintiff requests service at this time.

Defendant, MICHAEL MATTAMMAL, is aTexas citizen residing in Texas and may be
served with process by certified mail, return receipt requested, at 11215 Research Blvd, Apt
2139, Austin, TX 78759-4959. Plaintiff requests service at this time.

lII. AGENCY AND RESPONDEAT SUPERIOR

Whenever in this petition it is alleged that Defendants did any act or thing, it is meant that
Defendants themselves or their agents, officers, servants, employees, or representatives did such
a thing. lt was also done with the full authorization or ratification of Defendants or done in the
normal routine, course and scope of the agency or employment of Defendants or their agents,
officers, servants, employees, or representativesl

IV. JURISDICTION AND VENUE

This Court has jurisdiction over this case in that the amount in controversy exceeds the
minimum jurisdictional limits of this Court. Pursuant to Texas Rule of Civil Procedure 47
regarding Claims for Relief, the Plaintiff seeks monetary relief in an aggregate amount over
$100,000, but not more than $200,000.

Venue is proper in Bell County, Texas, because all or a substantial part of the events
giving rise to the lawsuit occurred in this county, and the insured property that is the basis of this
lawsuit is located in Bell County, Texas. 4

v. coNi)i'rioNs PRECEDENT

All conditions precedent to recovery have been performed, waived, or have occurred

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MAQI_`§
Plaintiff is the owner cf a Texas Horneowners Policy No.'OY6481742, issued by Safeco
(the “Policy”).
Plaintiff owns the insured property, which is specifically located at 2003 Carousel Dr.,
Killeen, Texas 7 6543 (the “Property”).
Safeco, or its agent, sold the Policy, insuring the Property, to Plaintiff
ln or about March 2014, Plaintiff experienced a storm that damaged the Property, In its
track, the storm left behind widespread damage to the Property, Plaintiff’s hcme.
The Plaintiff immediately submitted a claim to Safeco. Safeco assigned an adjuster,
Michael Mattamrnal (“Mr. Mattammal”), to adjust the claim. Safeco assigned claim
number 872224375039 to Plaintiffs claim.
Mr. Mattammal; on behalf of Safeco, inspected Plaintiffs property after the storm. During
the inspection, Mr. Mattammal, on behalf of Safeco, was tasked with the responsibility of
conducting a thorough and reasonable investigation of Plaintifl:"s claim, including
determining the cause of and then quantifying the damage done to Plaintiff s home.
Mr. Mattammal, on behalf of Safeco, prepared a repair estimate, which vastly under-scoped
the actual covered damages to the home. Based upon Mr. Mattammal’s estimate, Safeco
determined that only $2,498.47 was due on Plaintiffs claim. Thus, Defendants
demonstrated they did not conduct a thorough investigation of the claim.
Defendants failed to fairly evaluate and adjust Plaintiffs claim as they are obligated to do
under the Policy and Texas law. By failing to properly investigate the claim and wrongfully
denying full coverage to Plaintitf, Defendants engaged in unfair settlement practices by

misrepresenting material facts to Plaintiffl

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Defendants failed to perform their contractual duty to adequately compensate Plaintiff under
the terms of the Policy. Specifically, Defendants failed and refused to properly pay proceeds
of the Policy, although due demand was made for proceeds to be paid in an amount
sufficient to cover the damaged property and all conditions precedent to recovery upon the
Policy had been carried out and accomplished by Plaintiff Defendants’ conduct constitutes
a breach of the insurance contract

Defendants misrepresented tc Plaintiff that the damage to the Property was not covered
under the Policy, even though the damage was caused by a covered peril. Defendants’
conduct constitutes a violation of the Unfair Settlement Practices section _of the Texas
lnsurance Code. Tex. Ins. Code § 541.060(a)(l).

Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although
they were aware of_ their liability to Plaintiff under the Policy. Defendants’ conduct
constitutes a violation of the Unfair Settlement Practices section of the Texas Insurance
Code. Tex, lns, Code § 541.060(a)(2)(A).

Defendants failed to explain to Plaintiff why full payment was not being made.
Furthermore, Defendants did not communicate that future payments would be forthcoming

to pay for the entire losses covered under the Policy, nor did Defendants provide any

explanation for the failure to adequately settle Plaintlft’s claims Tex. lns. Code §~

541.060(3.)(3).
Defendants failed to aff`mn or deny coverage of Plaintift’s claim within a reasonable time.
Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

the full and entire claim, in writing from Defendants. Defendants’ conduct constitutes a

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violation of the Unfair Settlement Practices section of the Texas Insurance Code. Tex. Ins.
Code § 541.060(a)(4).

Defendants refused to fully compensate Plaintiff under the terms of the Policy, even though

Defendants failed to conduct a reasonable investigation Specifically, Defendants performed v

an outcome-oriented investigation ofPlaintiffs claim, which resulted in a biased, unfair and
inequitable evaluation of Plaintiffs losses to the Property. Defendants’ conduct constitutes a
violation of the Unfair Settlement Practices section of the Texas Insurance Code. Tex. Ins.
Code § 541.060(a)(7).

Defendants failed to meet their obligations under the Tcxas Insurance Code regarding timely
acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’s claim, and
requesting all information reasonably/necessary to investigate Plaintiffs claim within the
statutorily mandated deadline Defendants’ conduct constitutes a violation of the Prompt
Payment of Claims subchapter of the Texas Insurance Code. Tex. lns. Code § 542.055.
Defendants failed to accept or deny the Plaintiffs full and entire claim within the statutory
mandated deadline of receiving all necessary information Defendants’ conduct constitutes a
violation of the Prompt Payment of Claims subchapter of the Texas Insurance Code. Tex.
lns. Code § 542.056.

Defendants failed to meet their obligations under the Texas lnsurance Code regarding
payment of claims without delay. Specifically, Defendants have delayed full payment of
Plaintiff’s claim longer than allowed and, to date, Plaintiff has not yet received full payment
for Plaintiff s claim. Defendants’ conduct constitutes a violation of the Prompt Payment of

Clairns subchapter of the Texas Insurance Code. Tex, lns. Code § 542.058.

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R. From and after the time Plaintiffs claim was presented to Defendants, the liability of
Defendants to pay the full claim in accordance with the terms of the Policy was reasonably
clear. However, Defendants have refused to pay Plaintiff in full, despite there being no basis
whatsoever on which a reasonable insurance company would have relied to deny the full
payment Defendants’ conduct constitutes a breach cf the common law duty of good faith
and fair dealing

S. As a result of Defendants’ wrongful acts and omissions, Plaintiff was forced to retain the
professional services of the attorney and law firm who are representing Plaintiff with respect
to these causes of action. To date, Defendants have failed to and refused to pay Plaintifffor
the proper repair of the property.

T. The Plaintiff’s experience is not an isolated case. The acts and omissions of Defendants
committed in this case, or similar acts and omissions, occur with such Hequency that they
constitute a general business practice of Defendants with regard to handling this type of
claim. Defendants’ entire process is unfairly designed to reach favorable outcomes for the
company at the expense of the policyholder.

VII. THEORIES OF LIABILITY

A. Cause of Action for Breach of Contract
Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

According to the lnsurance Policy that Plaintiff purchased, Defendants have the duty to
investigate and pay Plaintiff’s policy benefits for claims made for covered damages, including
additional benefits under the Policy, resulting from the damages As a result of these damages,

which result from covered perils under the Policy, the Plaintiff’s horne has been damaged

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Defendants’ failure and refusal, as described above, to pay the adequate compensation as
they are obligated to do under the terms of the Policy in question and under the laws of the State
of Texas, constitutes a breach of Defendants’ contract with Plaintiff As a result of this breach of
contract, Plaintiff has suffered the damages that are described in this petition.

B. Cause of Action for Violation of Section 542

The Plaintiff re-alleges and incorporates by reference all previous and subsequent
paragraphs herein.

Defendants’ acts, omissions, failures, and conduct that are described in this petition
violate Section 542 of the Texas Insurance Code. Within the timeframe required after the receipt
of either actual or written notice of the Plaintiff s claim, Defendants did not request from Plaintiff
, any items, statements, and forms that they reasonably believed at that time would be required
from Plaintiff for Plaintiffs claim, As a result, Defendants have violated Section 542 by failing
to accept or reject Plaintiff's claim in writing within the statutory timeframe. Defendants also
violated Section 542 by failing to pay Plaintiff’s claim within the applicable statutory period.
Additionally, if it is determined Defendants owe Plaintiff any additional monies on Plaintiff’s
claim, Defendants will have automatically violated Section 542 in this case.

C. DTPA Cause of Action

The Plaintiff re-alleges and incorporates by reference all previous and subsequent
paragraphs herein.

The Plaintiff incorporates all the allegations in this petition for this cause of action
against Defendants under the provisions of the DTPA. The Plaintiff is a consumer of goods and

services provided by Defendants pursuant to the DTPA. The Plaintiff has met all conditions

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precedent to bringing this cause of action against Safeco. Speciflcally, Defendants’ violations of

the DTPA include, without limitation, the following matters

By their acts, omissions, failures, and conduct that are described in this petition,

Defendants have violated Sections l7.46(b)(2), (5), (7), (12) and (19) of the DTPA. In this

respect, Defendants’ violations include, without limitations

A.

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(l) their unreasonable delays in the investigation, adjustment and resolution of
Plaintiff s claim, (2) their failure to give Plaintiff the benefit of the dcubt, and (3)
their failure to pay for the proper repair of Plaintift’s home on which liability had
become reasonably clear. This gives Plaintiff the right to recover under Section
l7.46(b)(2) of the DTPA;

As described in this petition, Defendants represented to Plaintiff that the insurance
policy and Defendants’ adjusting and investigative services had characteristics or
benefits that they did not have, which gives Plaintiff the right to recover under
Section l'7.46(b)(5) of the DTPA;

As described in this petition, Defendants represented to Plaintiff that the insurance
policy and Defendants’ adjusting and investigative services were of a particular
standard, quality, or grade when they were of another in violation of Section
17.46(b)(7) of the DTPA; y

As described in this petition, Defendants represented to Plaintiff that the insurance
policy and Defendants’ adjusting and investigative services conferred or involved

rights, remedies, or obligations that they did not have, which gives Plaintiff the

right re recover under seeri<m 17.46(1>)(12> er the DTPA;

 

 

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E. Defendants have breached an express warranty that the damage caused by the
subject storm would be covered under the insurance policies. This breach entitles
the Plaintiff to recover under Sections 17.46(b)(12) and (19) and l7.50(a)(2) of
the DTPA;

F. Defendants’ actions, as described in this petition, are unconscionable in that they
took advantage of Plaintiff’s lack of knowledge, ability, and experience to a
grossly unfair degree Defendants" unconscionable conduct gives Plaintiff the
right to relief under Section 17.50(a)(3) of the DTPA; and

G. Defendants’ conduct, acts, omissions, and failures, as described in this petition,
are unfair practices in the business of insurance in violation of Section 17 ,50(a)(4)
of the DTPA.

All of the above~described acts, omissions, and failures of Defendants,are a producing
cause of Plaintiff’s damages that are described in this petition. All of the above-described acts,
omissions, and failures of Defendants were done knowingly and intentionally as those terms are
used in the Texas Deceptive Trade Practices Act.

D. Cause of Action for Unfair Insurance Practices

The Plaintiff re~alleges and incorporates by reference all previous and subsequent
paragraphs herein.

The Plaintiff incorporates all the allegations in this petition for this cause of action
against Defendants under the Texas Insurance Code. The Plaintiff has satisfied all conditions
precedent to bringing this cause of action. By their acts, omissions, failures, and conduct,
Defendants have engaged in unfair and deceptive acts or practices in the business of insurance in

violation of 541 of the Te)_tas Insurance Code. Such violations include, without limitation, all the

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conduct described in this petition plus Defendants’ unreasonable delays in the investigation,
adjustment, and resolution of the Plaintift’s claim and Defendants’ failure to pay for the proper
repair of the Plaintiffs home on which liability had become reasonably clear. They further
include Defendants’ failure to give Plaintiff the benefit of the doubt. Specifically, Defendants are
guilty of the following unfair insurance practices: '

A. Engaging in false, misleading, and deceptive acts or practices in the business of
insurance in this case;

B. Engaging in unfair claim settlement practices;
C. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the
coverage at issue; .
D. Not attempting in good faith to effectuate a prompt, fair, and equitable settlement
of claim submitted in'which liability has become reasonably clear;
E. Failing to affirm or deny coverage of Plaintiff"s claim within a reasonable time;
F, Refusing to pay Plaintiff’s claim without conducting a reasonable investigation
with respect to the claim; and
G. Failing to provide promptly to a policyholder a reasonable explanation of the
basis in the insurance policy in relation to the facts or applicable law for the
denial of a claim or for the offer of a company’s settlement
Defendants have also breached the Texas Insurance Code When they breached their duty
of good faith and fair dealing Defendants’ conduct as described herein has resulted in Plaintist
damages that are described in this petition
All of the above-described acts, omissions, and failures of Defendants were done

knowingly as that term is used in the Texas Insurance Code.

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E. Cause of Action for Breach of Duty of Good Faith and Fair Dealing

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of
action. By their acts, omissions, failures, and conduct, Defendants have breached their common
law duty of good faith and fair dealing by failing to pay the proper amounts on Plaintiff’s entire
claim without any reasonable basis and'by failing to conduct a reasonable investigation to
determine whether there was a reasonable basis for this denial. Defendants have also breached
this duty by unreasonably delaying payment of Plaintiff”s entire claim and by failing tc settle
Plaintiff’s entire claim because Defendants lcnew or should have known that it was reasonably
clear that the claim was covered These acts, omissions, failures, and conduct of Defendants are a
proximate cause of Plaintifi”s damages

vrll. wAlvER AND ESTOPPEL

Defendants have waived and are estopped from asserting any coverage defenses,
conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter
to the Plaintiff.

IX. DAMA¢ES

The above described acts, omissions, failures, and conduct of Defendants caused
Plaintist damages, which include, without limitation, the cost to properly repair Plaintift"s
horne and any investigative and engineering fees incurred in the claim. The Plaintiff is also
entitled to recover consequential damages from Defendants‘ breach of contract The Plaintiff is
also entitled to recover the amount of Plaintiff’s claim plus an 18% per annum penalty on that

claim against Defendants as damages under Section 542 of the Texas Insurance Code, plus

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prejudgment interest and attorneys fees. All the damages described in this petition are within the
jurisdictional limits of the Court and exceed an aggregate amount of monetary relief more than
3100,000, but not more than $200,000.
X. ADDITIONAL DAMAGES
Defendants have also "l<;nowingly" and “intentionally” committed deceptive trade
practices and unfair insurance practices as those terms are defined in the applicable statutes.
Because of Defendants’ knowing and intentional misconduct, Plaintiff is entitled to additional
damages as authorized by Section 17,50(b)(l) of the DTPA. Plaintiff is further entitled to the
additional damages that are authorized by Section 541 of the Texas Insurance Code.
XI. EXEMPLARY DAMAGES
Defendants’ breach of their duty of good faith and fair dealing owed to Plaintiff was done
intentionally, with a conscious indifference to the rights and welfare of Plaintiff, as defined in
Chapter 41 of the Texas Civil Practi_ce and Remedies Code. These violations by Defendants are
the type of conduct which the State of Texas protects its citizen against by the imposition of
exemplary damages Therefore, Plaintiff seeks the recovery of exemplary damages in an amount

to be determined by the finder of fact that is sufficient to punish Defendants for their wrongful

conduct and to set an example to deter Defendants and others similarly situated from committing ,

similar acts in the future.

XII. ATTORNEYS’ FEES

 

As a result of Defendants’ conduct that is described in this 'petition, Plaintiff has been
forced to retain the undersigned attorneys to prosecute this action and has agreed to pay

reasonable attorneys‘ fees. Plaintiff is entitled to recover these attorneys' fees under Chapter 38 of

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the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance
Code, and Section 17.50 of the DTPA.
XIII. DISCOVERY

Under the Texas Rule of Civil Procedure,194, the Defendants are requested to disclose
within fifty (50) days of service of this request, the information or material described in Texas
nolo orcivn Prooeooio 194.2 (a) through (1),

The Plaintiff’s Requests for Disclosure, Requests for Production, Interrogatories, and
Requests for Admissions are attached, for service at the time of service of this petition, and
incorporated herein by reference

XIV. JURY DEMAND
Plaintiff demands a jury trial and tenders the appropriate fee with this petition
XV. PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to
appear and answer herein, and that upon trial hereof, said Plaintiff have and recover such sums as
would reasonably and justly compensate Plaintiff in accordance with the rules of law and
procedure, both as to actual damages, consequential damages, treble damages under the Texas
Insurance Code and Texas Deoeptive Trade Practices Act, and all punitive and exemplary
damages as may be found. In addition, Plaintiff requests the award of attorneys’ fees for the trial
and any appeal of this case, for all costs of court, for prejudgment and post-judgment interest as
allowed by law, and for any other and further relief, at law or in equity, to which Plaintiff may

show himself to be justly entitled

Pl,AIN'I'lFF’S ORIGINAL PET|T|ON ‘ 13

 

 

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PLAINT{FF’S ORIGINAL PETITION

By:

Respectfully submitted,

ALLAN, NAVA, GLANDER & HOLLAND, PLLC ,

825 W. Bitters Road, Suite 102

San Antonio, Texas 7 8216 ,
Teiephone: (210) 305-4220

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_ ~. ' a'_.
was HoLLAND
State Bar No. 24007379
wlLLIAM N. ALLAN, iv

State Bar No. 24012204
ATTORNEYS FOR THE PLAINTIFF

  

 

 

 

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PLAINTIFF’S.-HENRY HUBBARD, JR., REOUESTS FOR DISCLOSURE
TO DEFENDANT. SAFECO INSURANCE COMPANY OF INDIANA

TO: SAFECO INSURANCE COMPANY OF INDIANA, Defendant

Pursuant to Rule 194, you are requested to disclose, within 50 days of service of this

request, the information requested below.

REOUESTS FO_R DISCLOSURE TO DEFENDANT“
REOUEST FOR DlSCLOSURE 194.2(a): The correct name of the parties to the lawsuit

RESPONSE:

REOUEST FOR DISCLOSURE 194.2(1)): Name, address, and telephone number of any
potential parties.

RESPONSE:

REOUEST FOR DISCLOSURE 194.2(@ The legal theories and, in general, the factual bases
for your claims or defenses t

RESPONSE:

REOUEST FOR DISCLOSURE 194.2(§)_: The amount and any method of calculating
economic damages

RESPONSE:

REOUEST FOR DISCLOSURE 194.2(9): The name, address, and telephone number of
persons having knowledge of relevant facts, and a brief statement of each identified person's
connection with the case.

RESPONSE:
REOUEST FOR DISCLOSURE 1_94.2(;`)_: For any testifying expert:
(a) the expert's name, address', and telephone number;
(b) the subject matter on which the expert will testify;
(o) the general substance o_f the expert's mental impressions and opinions and a brief

summary of the basis for them, or if the expert is not retained by, employed by, or
otherwise subject to your control, documents reflecting such information;

Plaintift‘s Requests for Diselosure

 

 

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(d) if the expert is retained by, employed by, or otherwise subject to your oontrol:

(i) all doeuments, tangible things, reports, models, or data compilations that
have been provided to, reviewed by, or prepared by or for the expert in
anticipation of the expert's testimony; and

(ii) the expert‘s current resume and bibliography.

RESPONSE:

REOUEST FOR DISCLOSURE 194.2(gn Any indemnity and insuring agreements
RESPONSE:

REOUEST FOR DISCLOSURE 194.2(11): Any settlement agreements

RESPONSE:

REOUEST FOR DISCLOSURE 194.2®_: Any witness statements

RESPONSE:

REQUEST FOR DISCLCSURE 194.2(1'); All medical records and bills that are reasonably

related to the injuries or damages asserted or, in lieu thereof, an authorization permitting the
disclosure of such medical records and bills. '

xBESPONSE:

REOUEST FOR DISCLOSURE 194.2(1L The name, address and telephone number of any
person who may be designated as a responsible third party.

RESPONSE:

Plaintiff’s Requests for Disclosure

 

 

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PLAINTIFF’S. HENRY HUBBARD, JR.. FIRST REOUESTS FOR PRODUCTION
` TO DEFENDANT. SAFECO INSURANCE COMPANY OF INDIANA

TO: SAFECO INSURANCE COMPANY OF lNDIANA, Defendant

lnstructions: Pursuant to the provisions of TEX. R. CIV. P. 196, you are hereby requested to

produce the below~designated documents

Pursuant to Rule 196.3, you are requested to serve responses and originals or copies of the

originals at the law offices of ALLAN, NAVA, GLANDER& HOLLAND, PLLC. Pursuant to Rule

196.2, a Response to these Requests shall be served within fifty (50) days after receipt of the

Requests.

Pursuant to Rule 196;3, the documents must be produced as they are kept in the usual course

of business, or organized and labeled to correspond to the requests for production

As used herein, the following terms shall have the meaning indicated below:

A.

Plaintiff`s Requests for Production

"Person" means natural persons, corporations, partnerships sole proprietorships,
unions, associations, federations or any other kind of entity.

“Document" means any printed, typewritten, handwritten, mechanically or otherwise

recorded matter of whatever character, including but without limitation, letters, '

purchase orders, memoranda, telegrams, notes, catalogues, brochures, diaries,
reports, calendars, inter- and intra-offlce communications statements, investigative
reports, announcements, depositions, answers to interrogatories pleadings,
judgments, newspaper articles, photographs tape recordings, motion pictures and
any carbon or photographic copies of any such material if you do not have custody
or control of the original. If any document requested to be identified was, but is no
longer in your possession or control or is no longer in existence, state whether it is
(1) missing or`lost; (2) destroyed; (3) transferred voluntarily or involuntarily to
others and, if so, to whom, or (4) otherwise disposed of; and in each instance explain
the circumstances surrounding an authorization of such disposition thereof, state the
approximate date thereof and describe its contents.

"You and "Your" shall mean the party to Whom these questions are directed as well
as agents, employees, attorneys, investigators and all other persons acting for said

llpartyll'

 

 

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REOUESTS FOR PRODUCTION

REOUEST FOR PRODUCTION NO. 1: The insurance policy in effect on the date of
Plaintiff’s claim(s) making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 22 The entire claims investigation files generated and
maintained by Defendant in the ordinary course of business pertaining to Plaintiff’s claim(s)
making the basis of this lawsuit

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REQUEST FOR PRODUCTION NO. 1_3: All training and educational materials which instruct
Defendant’s claims adjusters or claims handlers in handling claims for property damage coverage
under Defendant’s homeowners’ insurance policies in Texas. This request is limited to the last~five
(5) years.

RESPGNSE:

REOUEST FOR PRODUCTION NO. 41 All training and educational materials which instruct
claims adjusters or claims handlers in handling claims for coverage for property damage, hurricane
damage, hail, water damage, roof and/or wind damage under Defendant’s homeowners’ insurance
policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

` REOUEST FOR PRODUCTION NO. 52 All procedure or policy manuals or guides meant to
guide and assist Defendant’s claims adjusters or claims handlers in handling claims for property
damage, including the criteria for and the process for evaluating whether coverage exists under
Defendant’s homeowners’ insurance policies in Texas. This request is limited to the last five (5)
years.

s

RESPONSE:

REOUEST FOR PROD.UCTION NO. 6: All procedure or policy manuals or guides meant to
guide and assist Defendant’s claims adjusters or claims handlers in handling claims for property
damage, hurricane damage, hail, water damage, roof damages, and/or wind damage to the house,
including the criteria, for and the process for, evaluating whether coverage exists under
Defendant’s homeowners’ insurance policies in Texas. This request is limited to the last five (5)

years.

RE§PONSE:

REOUEST FOR PRODUC'I`ION NO` 7 : All communications ' and documents, including
electronic, between Defendant and Plaintiff regarding Plaintist claim(s).

Plaintift‘s Requests for Producticn

 

 

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RESPONSE:

REOUEST FOR PRODUCTION NO. 8: All communications and documents, including
electronic, between Defendant and any third party regarding Plaintist claim(s).

RESPONSE:

REOUEST FOR PRODUCTION NO. 9: All communications and documents, including
electronic, between Defendant and any other Defendant(s) regarding Plainans claim(s).

RESPONSE:

REOUEST FOR PRODUCTION NO. 10: All communications and documents, including
electronic, between Defendant’s business departments, including all persons part of the Defendant
company, regarding Plaintist claim(s). '

RESPONSE:

REOUEST FOR PRODUCTION NO. 11: All communications and documents Defendant sent
to any other Defendant(s) in this cause of action regarding Plaintiff or the Property, aner Plaintiff’s
claim(s) for coverage ‘

RESPONSE:

REOUEST FOR PRODUCTION NO. 12: All photographs, diagrams, drawings, or other.

graphic depictions of Plaintiff or the Property made the basis of this lawsuit
RESPGNSE:

REOUEST FOR PRODUCTION NO. 13: Any and all documents, reports, data, emails, notes,
photos, videos, manuals, guides, and summaries regarding the insurance claim(s) made the basis of

this lawsuit.
RESPONSE:

REOUEST FGR PRODUCTION NO. 14: All reports and other documents from governmental
agencies or offices regarding Plaintist Property or containing officially kept information
regarding Plaintiff’s Property.

RESPONSE:
REOUEST FOR PRODUCTION NO. 15: Any and all claims files and claim reports,

including but not limited to notes, emails, data, photos, videos, manuals, guides, summaries and
claim documents, regarding all homeowner insurance claims made by Plaintiff under Plaintist

Plaintist Requests for Production

 

 

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homeowner insurance policy/policies with Defendant, specifically regarding damage to the:
exterior and interior ofPlaintiff’s Property, This request is limited to the last ten (10) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. _16: Any and all records and/or documents explaining
criteria utilized to qualify vendors for the “approved vendors list.”

RESPONSE£

REOUEST FOR PRODUCTION NO. 17 : Any and all records and/or documents maintained by
person(s) responsible for maintaining and updating the “approved vendors list.”

RESPONSE:

REOUEST FOR PRODUCTION NO. 182 Any and all records and/or documents maintained by
person(s) responsible for creating the criteria utilized to qualify vendors, including contractors and
roofing companies, for the “approved vendors list.” '
RESPONSE:

REOUEST FOR PR()DUCTION NO. 19: All docurnents, including reports, estimates, data,
emails, testing, sampling, videos, and photographs received by Defendant regarding inspections of
Plaintiff’s Property made the basis of this lawsuit.

RESPONSE:

REOUEST FOR PROI)UCTION NO. 20: Any and all records Defendant received, including
those obtained by way of deposition by written questions, regarding Plaintiff’s Property made the
basis of this lawsuit

RESPONSE:

REOUEST FOR PRODUCTION NO. 21: Any and all records or documents Defendant has
reviewed and/or obtained regarding Plaintist Property made the basis of this lawsuit

RESPONSE:

REOUEST FOR PRODUCTION NO. 22: Any and all claims files Defendant has reviewed
and/or obtained regarding Plaintist Property made the basis of this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 233 Any and all claims files Defendant has reviewed
and/or obtained regarding Plaintiff s Property made the basis of this lawsuit

Plaintift’s Requests for Production

 

 

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RESPONSE:

REOUEST FOR PRODUCTION NO. 24: All bulletins or other communications received from
the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage under Defendant‘s homeowner
insurance policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 25: All bulletins or other communications received from
the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage, hurricane damage, hail, water
damage, hail damage, roof damage, and/or wind damage under homeowner insurance policies in
Texas. This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 262 All materials meant to instruct and guide claims
adjusters under Texas law and/or company policy with regard to unfair claims settlement
practices, unfair claims handling practices, standards to be met in adjusting or handling
Defendant's first property insurance claims, or avoiding charges of bad faith. This request is
limited to the last five (5) years.

RESPONSE:
REQUEST FOR PRODUCTION NO, 27: All materials meant to instruct and guide
Defendant‘s claims adjusters under Texas law and/or company policy with regard to

understanding and complying with the Texas Insurance Code §541.060 and/or Article 21.21.
This request is specifically limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 28: All materials meant to instruct and guide
Defendant‘s claims adjusters under Texas law and/or company policy with regard to
understanding and complying with the Texas Insurance Code §542.055 et seq. and/or Article
21.55. This request is specifically limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 29: Any and all materials, documents, statements and/or
files that demonstrate Defendant’s net worth and Defendant’s' net income. This request is limited to
the last five (5) years,

RESPONSE:

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REOUEST FOR PRODUCTION NO. 30: Any and all materials, documents, statements and/or
files that reflect complaints and/or lawsuits filed by insured against Defendant regarding the
handling, review and/or adjusting of homeowner insurance claims in Texas, This request is
limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 312 A copy of each advertisement Defendant has used,
published and/or distiibuted, through any means, in Texas. This request is limited to the last five
(5) years. `

RESPONSE:

REOUEST 'FOR PRODUCTION NO. 32: Any and all materials, handouts, manuals, outlines,
articles and/or documents used or relied upon by Defendant to conduct any seminars and/or
continuing education classes for Defendant's employees and/or independent adjusters, regarding
the adjusting and/or handling of homeowner insurance claims, commercial insurance claims, and
property damage claims, hurricane claims, water damage claims, roof damage claims, and/or
wind damage claims in Texas. This request is limited to the last five (5) years

RESPONSE:

REOUEST FOR PRODUCTION NO. 33: Any and all materials, handouts, manuals, outlines,
articles and/or documents issued by Defendant to claims representatives and/or adjusters, or
received by claims representatives and/or adjusters, or relied upon by claims representatives
and/or adjusters, pertaining to the adjusting and/or handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas, This request is limited to the last five
(S) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 34: Any and all reference materials, handouts, manuals,
4 outlines, articles, and/or documents distributed and/or disbursed to Defendant's employer,
employees, agents and/or representatives in connection with attendance at seminars and/or
continuing education classes regarding the adjusting and/or handling of homeowner insurance
claims, commercial insurance claims, and property damage, hurricane claims, hail, water
damage, roof damage claims and/or wind damage claims in Texas, within the last five (5) years,

RESPONSE:
REOUEST FOR PRODUCTION NO. 35: Any and all materials reflecting Defendant's
attendance policies for adjusters and claims representatives at seminars and/or continuing

education classes regarding the adjusting and/or handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,

Plaintift`s Requests for Production '

 

 

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roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.

RESPONSE: 7

REOUEST FOR PRODUCTION NO. 36: Any and all materials, documents, files and/or
reports sent to Defendant by its employer, employees, agents, and/or representatives on a
monthly, weekly, or daily basis regarding Plaintiff’ s claim(s). Include any and all field notes and
summaries of the room-by-room scope of Plaintist Property made the basis cf this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 37: Any and all materials, documents, files, and/or
reports containing list(s) of contractors and/or roofing companies that have been approved and/or
recommended for performance of services for Defendant in Texas, specifically related to
homeowner insurance claims. This request is limited to the last five (5) years.

RESPONSE:

REQUEST F()R PRODUCTION NO. 38: Any and all computer programs, electronic data,
documents, and/or manuals used by the adjusters and claims representatives to perform property
damage estimates relating to homeowner insurance claims in Texas, including a complete copy
of the computer program used to adjust Plaintiff’ s claim(s). This request is limited to the last five
(5) years. '

RESPONSE:
REOUEST FOR PRODUCTION NO. 391 Any and all reference materials, handouts, manuals,
outlines, articles, and/or documents that have been distributed by and/or disbursed to Defendant

regarding the price estimates cf contractors and changes of those estimates within different
geographical areas of the State of Texas. This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 40: Any and all materials, documents, files and/or reports
of contractors and roofing companies that have been approved and/or recommended for
performance of services for Defendant in Texas. This request is limited to the last five (5) years.
RESPONSE:

REOUEST FOR PRODUCTION NO. 41: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate Plaintist claim(s) made the basis of this lawsuit, prepared on behalf of the
Defendant

RESPONSE:

Plaintiff’s Requests for Production

 

 

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REOUEST FOR PRODUCTION NO. 42: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate claims similar in nature to Plaintiff"s claim(s) asserted in this lawsuit, prepared
on behalf of Defendant This request is limited to the State of Texas. This request is limited to
the last five (5) years.

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REOUEST FOR PRODUCTION NO. 43: A complete copy of the entire personnel file(s) of any
and all adjusters assigned to Plaintist claim made the basis of this lawsuit

REsPoNs_E:

REOUEST FOR PRODUCT!ON NO. 44: The most recent address maintained on file for any
and all adjusters assigned to Plaintiff’s claim made the basis of this lawsuit

RESPONSE:

REQUEST FOR PRODUCTION NO. 45: Any and all documents and/or claim files for
persons or entities that have filed property damage, hurricane damage, hail, water damage, roof
damage, and/or wind damage claims that have been adjusted by any adjusters and/or adjusting
companies on behalf of Defendant

RESPONSE:

REQUEST FOR PRODUCTION NO. 462 Any and all activity logs relating to Plaintiff’s
claim(s) for property damage, hurricane damage, hail, water damage, roof damage, and/or wind
damage to Plaintiff’s property, and specifically, the claim(s) made the basis of this suit.

RESPONSE:

REOUEST FOR PRODUCTlON NO. 47: Any and all documents reflecting company
guidelines, procedures, or policies that serve as criteria for evaluating whether claims are
covered or excluded by any policy provisions Defendant contends applied to Plaintiff”s claim(s).
RESPONSE:

_ REOUEST FOR PRODUCTION NO. 48: Any and all organizational charts for Defendant
RESPONSE:

REOUEST FCR PRODUCTlON NO. 49: Any and all organizational charts or diagrams for
each department, unit, or section of Defendant to which Plaintiff’s claim(s) was assigned

MSPONSE:

Plaintift"s Requests for Production

 

 

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REOUEST FOR PRODUCTION NO. 50: Any and all charts or diagrams reflecting the chain of
command or supervisory hierarchy relating to each person involved in handling Plaintiff”s
claim(s).

RESPONSE:

REOUEST FOR PRODUCTION NO. 511 Any and all claims and underwriting files for each
claim involving property damage, hurricane damage, hail, water damage, roof danlage, and/or
wind damage made against Defendant, investigated by any and all adjusters assigned to

Plaintiff’s claim made the basis of this lawsuit in Texas, This request is limited to the last five (5)
years. ‘

RESPONSE:
REOUEST FOR PRODUCTION NO. 52: Any and all demand letters received by Defendant
after the handling of a claim involving property damage, hurricane damage, hail, water damage,

roof_ damage, and/or wind damage that was adjusted by any and all adjusters assigned to
Plaintiff’s claim made the basis of this lawsuit. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 53: Any and all documents reflecting or relating to
Defendant’s decision to pay or deny additional expenses to or on behalf ofPlaintiff in this case.

RESPONSE:

REOUEST FOR PRODUCTION NO. 542 Any and all records reflecting payment to Plaintiff`s
claim(s) made the basis of this suit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 55: Any and all documents, including correspondence
and checks, exchanged between Defendant and any and all vendors concerning Plaintiff’ s claim(s).

RESPONSE:

REOUEST FOR PRODUCTION NO. 56: Any and all documents relating to or reflecting any
and all adjusters assigned to Plaintiff’s claim made the basis of this Lawsuit, from the time of
hiring through the present

RESPONSE:
REOUEST FOR PRODUCTION NO. 57 : Any and all documents relatinth the assignment of

Plaintiff s claim(s) to any and all adjusters assigned to Plaintist claim made the basis of this
lawsuit, nom the time of hiring through the present

Plaintist Requests for Produetion

 

 

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RESPONSE:

REOUEST FOR PRODUCTION NO. 58: Any and all documents relating to or reflecting
referrals of vendors to Plaintiff or any insured.

RESPONSE:

REOUEST FOR PRODUCTION NO. 59: lf` you are Withholding documents based upon the
assertion of a privilege, please produce a privilege log, detailing with reasonable particularity a
description of the documents withheld, the number of documents, and the applicable privilege
which Defendant claims properly precludes the information discovery.

RESPONSE:

REOUEST FOR PRODUCTION NO'. 60: Any and all advanced or specialized certifications of
personnel who inspected, investigated, and/or supervised the' adjusting of the claim(s) pertaining
to the Property made the basis of this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 613 Any and all documents, including contracts, rules,
guidelines and/or instructions exchanged between Defendant, Plaintiff and any and all adjusters
assigned to Plaintiff’s claim made the basis of this Lawsuit, from the time of hiring through the
present, and any other entities with whom Defendant worked or communicated regarding the
Property made the basis of this lawsuit `

RESPONSE:

REOUEST FOR PRODUCTION NO. 622 All physical or tangible items and/or potentially
usable evidence obtained by, or on behalf of`, Defendant from the scene of the occurrence made the

basis of this suit.
BE§__IWS_E_=

REOUEST FOR PRODUCTION NO. 63: Any and all indemnity agreements between
Defendant and any other person, firm, or corporation against which a claim of indemnification
might be brought because of the facts in this lawsuit

RESPONSE:

REOUEST FOR PRODUCTION NO. 64: Any and all complaint policies and procedures
regarding the handling by Defendant of complaints made by insured homeowners This request is
limited to the last five (5) years. ~

RESPONSE:

Plaintist Requests for Production 10

 

 

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REOUEST FOR PRODUCTION NO. 652 Copies of all job descriptions of employees that
adjusted or in any way supervised the handling of Plaintiff‘s claim(s).

RESPONSE!

REOUEST FOR PRODUCTION NO. 66: All non-privileged e-mails regarding the
`investigation, adjusting, and/or handling of the claim(s) made the basis of this lawsuitl

RESPONSE:

REOUEST FOR PRODUCTION NO. 67 : All e-mails between Defendant's adjusters, agents,
supervisors, officers, and/or executives regarding changes in the educational programs relating to
the handling of property damage, hurricane damage, hail, water damage, and/or roof damage
claims.

RESPONSE:

REOUEST FOR PRODUCTlON NO. 68: All computer files, databases, electronically-stored
information or computer~stored information regarding property damage, hurricane damage,
water damage and/or roof damage that have been compiled, prepared, and/or supervised by

Defendant, whether or not they are in Defendant‘s possession or in the possession of another
entity.

REsPoNs'E=

REOUEST FOR PRODUCTION NO. 69: True and complete copies of all billing records from
any and all independent adjusters regarding the claim(s) made the basis of this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 702 True and complete copy of activity logs filed by the
staff and independent adjusters on the file pertaining to the claim(s) made the basis of this lawsuit.

RESPONSE:

REOUEST FOR PROi)UCTION NO. 712 Any and all reports, documents, or correspondence
containing the names and locations of all adjusters who have worked on this file to the present.

RESPONSE:

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REOUEST FOR PRODUCTION NO. 72: True and complete copies of all billings on the file

from the independent adjusters, including the time sheets or documentation used to justify the
billings

RESPONSE:

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REOUEST FOR PRODUCT!ON N0. 732 Any and all reports, documents or correspondence
reflecting the reserving and payment history of indemnity, expenses, and vendors on this file
including but not limited to dates, changes and requests made by the adjusters. This request is
limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 74: Any and all correspondence and lawsuits involving
vendors, staff or management involved with property claims, property damage, hurricane damage,
hail, water damage, roof damage, and/or wind damage claims from 2000 to present

RESPONSE:

§_EOUEST FOR PRODUCTION NO. 75: Any and all correspondence and lawsuits concerning
the issues of honesty, conflict of interest, criminal actions, past criminal record, criminal
conduct, fraud investigation and/or inappropriate behavior of any person associated with the
handling of Defendant's claims files, management of property damage, hail, water damage, roof
damage and/or wind damage claims, including staff and vendors.

RESPONSE:

REOUEST FOR PRODUCTION NO. 76: Any and all answers made in previous discovery
requests for lists or databases of property damage, hurricane damage, hail damage, water
damage, roof damage and/or wind damagel

RESPONSE:

REOUEST FOR PRODUCTION NO. 77 : Any and all answers and affidavits made by
Defendant and its counsel in previous discovery requests for training procedures, and training
manuals for property damage, hurricane damage, hail damage, water damage, roof damage,
and/or wind damage claims.

RESPONSE:

REOUEST FOR PRODUCTION NO. 782 Any and all reports, documents or correspondence
reflecting the history of payment and reserves on this file.

MS_E;

REOUEST FOR PRODUCTlON NO. 79: Any and all reports, documents or correspondence
containing names of designated individuals who gave testimony as Person Most Knowledgeable
for claims, property damage, hurricane damage, catastrophe, hail damage, water damage, roof
damage, and/or wind damage claims for 2000 through the present, along with a list of the
lawsuits where testimony was given.

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RESPONSE:

REOUEST FOR PRODUCTION NO. 80: Any and all training manuals used by vendors to
train their adjusters on property damage, hurricane damage, hail damage, water damage, roof
damage, and/or wind damage for Defendant This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 81: Any and all<correspondence from Defendant to and
from vendors regarding any instructions, procedures, changes, training, payments, and billing for
property damage, hurricane, flood, wind, hail and catastrophe claims for 2000 through the
present, including but not limited to computer disks, e-mails, paperwork, and manuals.

RESPONSE:

REOUEST FOR PRODUCTION NO. 82: Any and all'correspondence concerning issues with
billing and claims handling with Defendant's vendors, and/or independent adjusting companies
This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 832 Any and all demand letters, lawsuits and/or
subrogation claims filed against any of Defendant's vendors, or by any vendors against
Defendant This request is limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 84: Any and all reports, documents or correspondence
containing lists of attendees, dates, and locations of all meetings conducted by Defendant for all
independent adjusters and Defendant‘s staff for property damage claims, hurricane damage
claims, flood damage claims, wind damage claims, hail damage claims, water damage claims,
and/or roof damage claims training. This request is limited to the last five (5) years.

RESPONSE: '

REOUEST FOR PRODUCTION NO. 85: Any and all reports, documents or correspondence
containing lists of files with written complaints or DOl complaints on property damage,
hurricane damage, wind damage, hail damage, water damage, and/or roof damage claims
previously gathered and produced in earlier complaints or lawsuits This request is limited to the
last five (5) years,

RESPONSE: ~

REOUEST FOR PRODUCTION NO. 86: Any and all reports, documents or correspondence
containing lists of all lawsuits or disputes filed against Defendant or its entities or affiliates

Plaintist Requests for Production 13

 

 

 

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nationwide,‘ containing an element of property damage, hurricane damage, hail damage, water
damage, roof damage, and/or wind damage for 2000 through the present. ,

RESPONSE:
REOUEST FOR PRODUCTI()N NO. 87 : Copies of the front and back of each negotiated
check made payable solely or co»payable to Plaintiff under Plaintiff’s insurance policy in effect

during the time of the insurance claim made the basis of this lawsuit, and which was issued by
Defendant ~

RESPONSE:

REOUEST FOR PRODUCTION NO. 882 Copies of the front and back of each negotiated
check made payable solely or co~payable to Plaintiff regarding the insurance claim made the
basis of this lawsuit.

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REOUEST FOR PRODUCTION NO. 892 Studies commissioned by Defendant, including any
done by a law firm to analyze its claim management strategies, and/or to help it improve corporate
profits

RESPONSE:

REOUEST FOR PRODUCTION NO. 90: Affidavits or depositions of the employee(s) who
handled Plaintist claim(s), or their supervisors, in all other cases involving the same or similar
allegations as in this case.

RESPONSE:

REOUEST FOR PRODUCTION NO. 91: The entire underwriter’s file for underwriting the
insurance policy made the basis of this lawsuit. ’

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REOUEST FOR PRODUCTION NO. 92: All notes, rcports, documents, or applications created
and/or generated by Defendant’s underwriting department relating to the insurance policy made the
basis of this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 93: Please produce your Claims Service record related to
the claim that forms the basis of this lawsuit

RESPONSE:

Plaintifi’ s Requests for Production 14

 

 

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REOUEST FOR PRODUCTION NO. 942 Please produce your Activity Log related to the claim
that forms the basis of this lawsuit

RESPoNsE:

REOUEST FOR PRODUCTION NO. 95: Please produce your claims manual that applies or
applied to this claim up to the time that you received a demand letter from Plaintiff or were served
with the petition in this case.

RESPONSE:

Plaintiff’ s Requests for Production 15

 

 

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I’LAINTIFF’S. HENRY HUBBARD, JR., FIRST SET OF INTERROGATORIES
TO DEFENDANT, SAFECO INSURANCE COMPANY OF INDIANA

TO: SAFECO INSURANCE COMPANY OF INDIANA, Defendant

NOW COMES HENRY HUBBARD, JR., Plaintiff in the above styled and numbered cause,
and requires that SAFECO INSURANCB COMPANY OF INDIANA, Defendant, answer the
following Interrogatories under the provisions of Rule 197 of the Texas Rules of Civil Procedure,
and Plaintiff requires that answers to same be served upon the undersigned no later than fifty (50)
days after the date of` the service hereof`.'

_ll‘lSLlW.Q`_I.QU§
` The undersigned party propounds the attached questions to you under the provisions of Rule

197 of the Texas Rules of Civil Procedure, These questions are being served on your attorney and
answers to the lnterrogatories should, to the extent possible, bet answered in the spaces provided;
and if additional space is needed, please use additional sheets o'r the back of the preceding page.
You are notified that this party specifies that the answers shall be filed and served upon the
undersigned on or before the expiration of fifty (50) days from the date of the service of these
questions; and the questions and your sworn answers may be offered in evidence at the trial of this
lawsuit.

in answering these questions, please furnish all information available to you, including
information in the possession of your attorney, or its investigators, and all persons acting in your

behalf, and not merely such information known of your own personal knowledge If you cannot

answer the lnterrogatcry in full after exercising due diligence to secure the infonnation, so state in '

your answer and, to the extent possible, answer stating whatever information'cr knowledge you

have.

Plaintist First Set ofInterrogatories

 

 

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These Interrogatories are to be' considered as continuing, and you are requested to provide

by way of supplemental answers such additional information as you or any other person acting on

your behalf may obtain which will augment or otherwise modify your answers given to the

Interrogatories below. Such supplemental responses are to be filed and served upon this party

immediately upon receipt of such information

The following terms shall have the meaning indicated below:

'd.

"Person" means natural persons, corporation, partnerships sole proprietorships,
associations, or any other kind of entity or its agents, servants and employees

“Docurnent" means any written instrument, recorded matter of whatever character,
including but without limitation, contracts, letters, purchase orders, memoranda,
telegrams, notes, catalogs, brochures, diaries, reports, calendars, statements,

investigative reports, announcements, newspaper articles, photographs, tape ~

recordings, motion pictures, and any carbon or photographic copies of any such
material, and anything else in writing.

'"You" and "Your" shall mean the party to whom these questions are directed as

well as agents, employees, attorneys, investigators and all other "persons" acting for
said party.

"Misconduct" is defined as an activity, act, or omission to act which result in a
breach of warranty, express or implied, violation of any statute, regulation, or
industry standard, whether relating to safety or otherwise, or a breach of any duty of
any care.

"Plaintiff“ is defined as the party who is propounding these Interrogaton'es to you

and any of its agents, servants or employees

"Occurrence" shall mean the accident, event or happening as set forth in the
Plaintist complaint that has given rise to this lawsuit

Whenever an Interrogatory asks information concerning a.document, you are requested to

attach a copy of that document to your answers.

ln each question wherein you are asked to identify a person, please state with respect to such

person his full name, last known address and horne telephone number. If the person to be identified

is not a natural person (e.g. a corporation) give its name and address and principal business activity.

Plaintiff‘s First Set of Interrogatories

 

 

 

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FIRST SET OF IN_TERROGATORIES

INTERROGATORY NO. 1: State the name, address, telephone number, and position or job title
of all persons answering these interrogatories

 

ANSWER:

INTERROGATORY NO. 22 State whether Defendant contends that any conditions precedent to
Plaintiff”s recovery has not been met, whether said conditions be stated in the insurance policy or
required by law. lf` so, state what conditions have not been met.

ANSWER:

INTERROGATORY NO. 3: List the date(s) Defendant requested that Plaintiff provide any
named Defendant(s) in this cause of action with requested information that was required in order to
properly evaluate Plaintiff' s claim(s).

ANSWER:

INTERROGATORY NO. 4: List the date(s) Defendant received Plaintist notice of claim(s) for
coverage for property damages, the date(s) Defendant first acknowledged Plaintiff”s notice of
claim(s), and in what form the notice of claim was submitted

ANswE`R:

INTERROGATORY NO. 5: State whether Defendant contends that Plaintiff did not provide
any named Defendant(s) in this cause of action with requested information that was required in
order to properly evaluate Plaintiff”s claim(s). if so, state what information was requested and
not provided, and the dates of the requests

 

ANSWER:

INTERROGATORY NO. 6: State the name, address, telephone number, and job title or
position of all persons who issued, adjusted, investigated, reviewed, handled, made cntries, made
decisions, or exchanged any documents 'or communications including electronic, regarding
Plaintiff’s insurance policy or the claim(s) made the basis of this lawsuit, including the name,
address, and telephone number of the supervisor of the identified person. For any such person
who is no longer an employce, agent, or representative of any defendant, please so indicate and
provide the person’s last known address and telephone number.

ANswER=

INTERROGATORY NO. 7 : State every basis, in fact and in the terms of Plaintiff’ s policy, for
Defendant’s denial or payment and/or recommendation of denial or payment of Plaintiff"s
claimsl

 

Plaintiff’ s First Set of Interrogatories

 

 

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ANSWER:

INTERROGATORY NO. 8: State every basis, in fact and in the terms of Plaintiff’s policy, for
Defendant’s failure to pay for Plaintiff’s full claims,

ANSWER:

INTERROGATORY NO. 9: State the cause number, style, and court for each lawsuit filed
against Defendant in the last five years alleging misconduct, improper claims handling, bad faith,
violations cf Tean insurance Code §541.060, fomlerly known as Article 21.21, or violations of
Texas Insurance Code §542.055, at seq., formerly known as Article 21.55, in the handling of first
party claims for property damage coverage under homeowner insurance policies

ANSWER:

lNTERROGATORY NO. 10: State the legal theories and describe the factual bases, for your ‘

contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. lns. Code §541.060, the violation of which is alleged in Plaintist current live pleading
against Defendant `

ANSWER:

INTERROGATORY NO. 112 State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §542.055, in that Defendant followed all statutory deadlines, and by no later
than the 15th day of notice of the claim (in the event of a weather-related catastrophe or major

natural disaster, as defined by the cornmissioner, the claim-handling deadlines under this

subchapter are extended for an additional IS days acknowledged receipt cf the claim,
commenced investigation of the claim, and requested any proper documents from Plaintiff"s
reasonably believed necessary to conduct such investigation, made additional requests during the
investigation as necessary, and if acknowledgment of receipt of the claim was not in writing,
made record of the date, manner and content, as refuted in Plaintiff's current live pleading
against Defendant

ANSWER:

INTERROGATGRY NO. 12: State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. lns. Code §542.056, in that Defendant followed all statutory deadlines by notifying
Plaintiff’s in writing the acceptance or rejection of Plaintiff’s claim no later than the 15th
business day after receipt of any requested information from Plaintiff’s, (in the event of a
weather~related catastrophe or major natural disaster, as defined by the commissioner, the claim~
handling deadlines under this subchapter are extended for an additional 15 days), including
stating the reason if rejected or explanation of why Defendant could not do so within that time,
as refuted in Plaintiff’s current live pleading against Defendant '

Plaintift’s Fitst Set of Interrogatorles

 

 

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ANSWER:

INTERROGATORY NO. 13: State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §542.058, in that Defendant after receiving all items, statements, and forms
reasonably requested and required under §542.055, delays payment of the claim for a period
exceeding the period specified by other applicable statutes or, if other statutes do not specify a
period, for more than 60 days, the insurer shall pay damages and other items as provided by
§542.060, except where it is found as a result of arbitration or litigation that a claim received by
an insurer is invalid and should not be paid by the insurer, receiving all necessary information,
Defendant did not delay in making payments for more than 60 days, as refuted in Plaintiff’s
current live pleading against Defendant.

 

ANSWER:

lNTERROGATORY NO. 14: State the name, address, and telephone number of each
policyholder who gave Defendant written notice, within the last five years, of a complaint about
Defendant‘s handling of first party claims for property damage coverage under homeowner
insurance policies in Texas.

 

ANSWER:

lNTERROGATORY NO. 15: State the name, ~address, and telephone number of each
policyholder from whom Defendant recorded a complaint, within the last five years, about
Defendant's handling of first party claims for property damage coverage under homeowner
policies in Texas. '

ANSWER:

lNTERROGATORY NO, 162 For each complainant identified in the responses to
interrogatories 14 and 15, state whether any communication was exchanged between Defendant
` and any Tean governmental regulath agency regarding the complaint If the response is yes,
for any such complainant, state the name of the agency, the name of the govennnent's
representative with whom Defendant exchanged communication, and the reason for the

governmental agency's involvement

ANSWER:

INTERROGATORY NO. 17 : For each investigation by a Tean governmental agency within
the last five years into Defendant’s practices when handling first party claims for property
damage coverage under homeowner/commercial policies, state the name of the agency, the

names of all investigators, and the names of all government representatives with whom
Defendant communicated for purposes of the investigationl

ANSWER:

Plaintiff’s First Set ot` lnterrogatorles

 

 

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INTERROGATORY NO. 18: ldentify by name, address, and telephone number, all persons and
or entities that have filed property damage claims, hurricane damage claims, hail damage claims,
water damage claims, roof damage claims and/or wind damage claims with Defendant that have
been adjusted by any and all adjusters assigned to Plaintiff’s claim made the basis of this
Lawsuit, from the time of hiring through the present

ANswEn:

INTERROGATORY NO. 192 Please state whether Defendant took, or is aware of the taking of,
a recorded statement and/or examination under oath of any representative, or agent of, or any
person employed by, Plaintiff regarding the claim made the basis of this lawsuit If a recorded
statement and or examination under oath Was taken, please state the date it was taken and the
name of the person taking the statementl Pl_ease also state whether the statement was transcribed,
Where the statement is currently located, and/or the last place Defendant saw a transcription of
same. ,

ANSWER:

INTERROGATORY NO. 20: ldentify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that have issued Plaintiff’ s Policy,

ANSWER:

INTERROGATORY NO. 21: ldentify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that prepared Plaintiff`s Policy including the
Property made basis of` the claim(s).

ANSWER:

INTERROGATORY NO. 22: ldentify by name or company name, address, and telephone
number any engineer(s) and/or engineering company(s), used to evaluate Plaintiff s claim(s), the

name(s) of each prior claim each such person(s) and/or company(s) worked for Defendant, the
date(s) of the reports, and the address of the Property for which the inspection was done,

ANSWER:

INTERROGATORY NO.‘ 23: For each of the above listed engineer(s) or engineering

- company(s), list the compensation received from Defendant for any services and work performed

in the last five years.

ANSWER:

Plaintiff s First Set of Interrogatories

 

 

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PLAINTIFF’S. HENRY HUBBARD, JR., REOUESTS FOR ADMISSIONS
TO DEFENDANT. SAFECO INSURANCE COMPANY OF INDIANA

TO: SAFECO INSURANCE COMPANY OF INDIANA, Defendant

NOW COMES HENRY HUBBARD, JR., Plaintiff in the above styled and numbered cause,
and requires that sAFEco msURANcE CoMPANY or leANA, Defendant respond tov the
following Requests for Admissions, and Plaintiff requires that responses to same be served upon the
undersigned no later than fifty (50) days after the date of the service hereof

REOUESTS FOR ADMISSIONS

REOUEST FOR ADMISSION NO. 1: Defendant's principal place of business is Texas.
RESPONSE:
REOUEST FOR ADMISSION NO. 2: Defendant conducts the business of insurance in Texas.
RESPONSE:

REQUEST FOR ADMISSION NO. 32 Defendant insured Plaintiff’s property that makes the
basis of this lawsuit v ' .

RESPONSE: .

REOUEST FOR ADMISSION NO. 4`: Defendant insured Plaintiff’ s property against wind and
hail damage,

RESPONSE:

. REOUEST FOR ADMISSION NO. 5: Plaintist property sustained wind damage as a result
of the windstorm that makes the basis of this lawsuit.

RESPONSE:

REOUEST FOR ADMISSION NO. 6: Plaintiff"s roof sustained wind damage as a result of the
windstorm that makes the basis of this lawsuit.

RESPONSE:

REOUEST FOR ADMISSION NO. 7: The windstorm created openings in Plaintiff’s roof
Whereby water leaked into the interior Of Plaintiff" s home causing damage

Plaintift"s Requests for Admissions

 

 

 

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RESPONSE:

REQUEST FOR ADMISSION NO. 8: As a result of water leaking into Plaintist hcme,
Plaintiff’s personal property was damaged

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REOUEST FOR ADMISSION NO.v 9: The exterior of Plaintiff’ s home sustained wind damage
as a result of the windstorm that makes the basis of this lawsuit.

RESPONSE:

REOUEST FOR ADMISSION NO. 10: The windstorm that damaged Plaintiff’s property was
a covered occurrence under Plaintiff’ s insurance policy with the Defendant insurance company.

RESPONSE:

REQUEST FOR ADMISSION NO. 11: Plaintiff’s property sustained hail damage as a result
of the hailstorrn that makes the basis of this lawsuit.

RESPONSE:

REOUEST FOR ADMISSION NO. 12: Plaintist roof sustained hail damage as a result of the
hailstorrn that makes the basis of this lawsuit.

RESPONSE:

B__EOUEST FOR ADMISSION NO. 13: The exterior of Plaintiff’s horne sustained hail damage
as a result of the hailstorm.

RESPONSE:

REOUEST FOR ADMISSION NO. 142 Plaintiff’s personal property Was damaged as a result
of the hailstorm. '

RESPONSE:

REOUEST FOR ADMISSlON NO. 15: The hailstorm that damaged Plaintiff s property was a
covered occurrence under Plaintiff’s insurance policy with the Defendant insurance company.

RESPONSE:

REOUEST FOR ADMISSION NO. 162 Defendant improperly and unreasonably adjusted
Plaintiff’ s claim.

RESPONSE:

Plaintist Requests for Admissions

 

 

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REOUEST FOR ADMISSION NO. 17: Defendant performed an outcome~oriented
investigation of Plaintiff s claim.

RESPONSE:

REOUEST FOR ADMISSlON NO. 182 Defendant did not conduct a reasonable investigation
of Plaintiff’s damage,

B_E_' SPONSE:

RE()UEST FOR ADMISSION NO.19: Defendant has unreasonably delayed payment to the
Plaintiff and failed to fairly settle Plaintiff s claim even though liability was reasonably clear

RESPONSE:

REOUEST FOR ADMISSION NO. 202 Defendant was not open and honest in its adjustment
of Plaintiff’ s claim.

RESPONSE:

REOUEST FOR ADMISSION NO. 21: Defendant failed to make an attempt to settle
Plaintiff’s claim in a fair manner.

RESPONSE:

REOUEST FOR ADMISSION NO. 22: Defendant misrepresented to Plaintiff that the damage
to Plaintist Property was not covered under the Policy.

RESPONSE:

REOUEST FOR ADMISSION NO. 23: Defendant misrepresented to Plaintiff that the damage
to Plaintist Property did not need to be replaced

RESPONSE:

REOUEST FOR ADMISSION NO. 24: Defendant was aware that the damage to Plaintiff’s
Property warranted replacement and not repair

RESPONSE:

REOUEST FOR ADMISSION NO. 252 Defendant took advantage of Plaintiff’s lack of
knowledge and experience

' REsPoNsEz

Plaintist Requests for Admissions

 

 

 

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REQUEST FOR ADMISSION NO 26: Defendant engaged in false, misleading, and deceptive
acts or practices in the business of1nsu1ance in the handling of Plaintiff’s claim.

RESPONSE:

REOUEST FOR ADMISSION NO. 27 : Defendant made material false representations and/or
material false promises to Plaintiff.

RESPONSE:

REQUEST FOR ADMISSION NO. 281 Defendant intended that Plaintiff would rely on these
false representations, and upon which Plaintiff did reasonably rely to its detriment

RESPONSE:

REOUEST FOR ADMISSION NO. 29: Defendant breached its insurance contract with
Plaintiff

RESPONSE:

REOUEST FOR ADMlSSION NO. 30: Defendant failed to provide its adjuster with policies,
guidelines, and/or materials pertaining to the lawful handling of insurance claims

RESPONSE:

REOUEST FOR ADMISSION NO. 311 Defendant purposely denied and/or underpaid
Plaintiff’ s claim in order to continue making profit off of Plaintiff.

RESPONSE:

REOUEST FOR ADMISSION NO. 321 Defendant provides incentives and/or bonuses to its
adjusters for closing out claims without adequate payment

RESPONSE:

REOUEST FOR ADMISSION NO. 33: Defendant provided a bonus to its adjuster in relation
to Plaintiff’s claim

RESPONSE:

REOUEST FOR ADMISSION NO. 341 Defendant has been reported to the Tean Departinent
of Insurance for the mishandling of claims in the last five (5) years

RESPONSE:

Plaintift’s Requests for Admissions

 

 

 

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` REOUEST FOR ADMISSION NO. 351 Defendant adjuster has been sued in the past five (5)

years for the mishandling of claims,

RESP ONSE:

Plaintiff”s Requests for Admissions

 

 

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Notice of Service of Process T'ai§`§i§'§?J§‘e`é';`§§¢ri>iii“§l§§i§
Prlmary Contact: Ar|ene Smith

Liberty |V|utual |nsurance Company

175 Berl<eley Street

Boston, MA 02117
Entity: Safeco Insurance Company Of lndiana

Entlty lD Number 27_80991
Entity Served: Safeco insurance Company of |ndiana
Tltle of Action: Henry l-lubloard, Jr. vs. Safeco lnsurance Company of lndlana
. Document(s) Type: Citation/Petltion

Nature of Action: Contract
Court/Agency: Bell County District Court, Tean
CaselReference No: 275,399~C
Jurisdictlon Served: TeXas
Date Served on CSC: 02/12/20'15
Answer or Appearance Due: 10:00 arn l\/londay next following the expiration of 20 days after service
Origina|ly Served On: CSC
How Served: Certit"led l\/lall
Sender lnformation: Wes Hol|and

210~305-4220

lnformatlon contained on this transmittal form ls for record keeping, notification and forwarding the attached doc_ument(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action

To avoid potential delay, please do not send your response to CSC
CSC is SAS70 Type II certified for its L/'tigat/'on Management System.

27110entervilleRoad Witmlngton,DE19808 (888)690-2882 | sop@csclnfo.com

 

 

 

 

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THE s'rATE oi= TEXAS
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v cause Ni;> 275399 - 0

To i
SAFECO lNSUFlANCE COMPANY OF INDIANA l
BY SEFlVlNG/FlEGlSTERED AGENT CORPORA'F|ON SERV|CE COMPANY
211 EAST 7TH STREET, SUlTE 620
AUST|N,_TEXAS 78701

 

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Defendant, in the hereinafter styled and numbered cause:§ ' 1
You are hereby commanded to appear by filing a written answer to the PLAlNTlFF’S OFliGiNAL PETiT|ON al or before
10:00 a.m. on the first ivionday following the expiration of twenty (20) days from the date ot service hereof, with the clerk
of the 169TH DiSTRiCT CCURT, Bell County, Texas, to.be held at the Bell County Justlce Compiex Bui|ding, District
Courts in Beiton, Texas, a copy of which accompanies this; citation, in cause number 275399 - O, styled l
HE£inY iiueeAnD Jn
V v
SAFECO lNSURANCE COlVlFANY OF |ND|ANA

tried in the said court on February 06, 2015. . ' §.

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This was issued at the request cl attorney: WES HOLLAND," 825 W. Bli'rEFlS, STE. 104 SAN ANTON|O, TEXAS 78216.

NOTICE TO Delendant: You have been sued. You may employ an attorney. lf you, or your attorney, do not file av
wrltten answer with the clerk who issued this citation by 10:00 AM on the first Monday following the expiration
of twenty (20) days after you were served this citation and petition, a default ]udgment may be taken against

you.

Wltness, JOANNA STATON, District Cierk cl Bell County, i”i:`exas, '
issued and given under my hand and seal cl said Court atioffice in Beiton, Texas, on February tO, 2015.

JOANNA STATON, District Cierk

Bell County, Texas .

1201 West Huey Hoad

P.O. Box 909 “

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§§ eeiton,re a 76513 '

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l; By: Deputy Ciei’k
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STEWARCL

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CEBIiF|CATE OF ll)'ELlVERED BY MAlL "
l t . s
i ceritify that on 2/10/15 at 3:30 pm l mailed by United:'States Postal Servlce in postage prepaidfetrltqveicl):pLe§f sent~b
o e

certified maii, return receipt requested, true copies of th'e foregoing citation aiong] with a cop(y NTlFF’
ORiGiNAL PETthON attached to each such citation, jail in accordance with t e District lerk standard mailing

procedures, and properly addressed to the following personj and address: ,

By: _Q;Jd__=@@i__, Depuiy.cieyi<

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Cause Nc. 275399 - 0
HENRY HUBBARD JFt ' ' iN THE
vs - 169TH DiSTFliCT COUFtT ;'
SAFECO iNSURANCE COMPANY OF |NDiANA BELL COUNTY, TEXAS '
ADDRESS FOR SERViCE: , (

SAFECO lNSURANCE COMPANY OF lNDlANA
211 EAST 7TH STFlEET, SUlTE 620

-\x.~

AUSTIN, TEXAS 78701 I‘

Came to hand on February 10, 2015, and executed by mailing to SAFECO iNSUFtANCE COMPANY OF lNDiANA by
certified matl, return receipt requested with restricted dellvery, a true copy ot this citation together with an attached copy
of PLAlNTiFF’S OR|GINAL PETlTlON to the above address, t

 

ii

Serv|ce upon the Defendant is evidenced by the return recjeipt incorporated herein and attached hereto.
t

 

signed by l and dated

l
.

This citation was not executed for the following reason:

 

To certify which witness my hand officially

_ . ‘~.-'.~ `- .:‘ _

' , JOANNA STATON, District Cierk
. / ?. Bell County, Tean '
1201 West l-iuey Road
.P.O. Box 909 ~
i ~ Be|ton, Tean 76513

By: __________________.i)eputy Cierk
erwAncL

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ATTACH RETURN FlECE
S|GNATURES UNLESS DEL

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Joanna Staton, District Cierk
District Court - Bell County, TX
by Lacey Martindale , Deputy

CAUSE NO. 275,399-€

HENRY HUBBARD, JR.,

§ IN THE DISTRICT COURT
Plaintiff §
§
v. § BELL CoUNTY, TEXAS
§
sAFEco INSURANCE CoMPANY §
oF INDIANA AND MICHAEL §
MATTAMMAL, §
Defendants § 169""“ JUDICIAL DISTRICT

DEFENDANTS’ ORIGINAL ANSWER
AND VERIFIED PLEA IN ABATEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW Defendants Safeco Insurance Company oflndiana and Michael Mattammal
(“Defendants”) and file this Original Answer and Veritied Plea in Abatement to Plaintift’s
Original Petition and for such Would respectfully show the Court the following:

I.
GENERAL DENIAL

Pursuant to TEX. R. CIV. P. 92, Defendants deny each and every, all and singular, the
allegations set forth in Plaintiff’s Original Petition and demand Strict proof thereof by a
preponderance of the evidence at the final trial of this case.

II.
AFFIRMATIVE DEFENSES

Appraisal. Defendants further aver and assert that Plaintiff has failed to Satisfy all
conditions precedent to bringing this suit under his homeowners’ insurance polioy. Specitically,
Defendants reserve their right to invoke the policy’s appraisal provision to resolve issues

regarding the amount of loss and denies any intent to Waive this right

1691-ii DISTRICT COURT

BELL CCUNTY TEXAS
Fwo To cc 3/6/15 _ ’ 3/6/2015

 

 

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III.
VERIFIED PLEA IN ABATEMENT

Plaintiff alleges that Defendants acted in bad faith by failing to pay the appropriate
benefits under his homeowner’S insurance policy for damage caused by a storm that occurred in
cr about March 2014, in addition to causes of action for breach of contract and breach of duty of
good faith and fair dealing, Plaintiff has also asserted causes of action for violations of the Tean
Dcceptive Trade Practices Act and the Texas insurance Code. See Plaintiff’s Original Petition at
pp. 3-1 l.

Defendants are entitled to abatement because Plaintiff did not give written notice of his
claims at least 60 days before filing suit as required by Section 17.505 of The Texas Deceptive
Ti‘ade Practices Act and Section 541.154 of the Texas Insurance Code. See also In re Alfcrd
Chevrole`i‘-Geo, 997 S.W.Zd 173, l76 (Tex. 1999). The applicable sections require that a person
seeking damages under these statutes give Written notice of their claims at least 60 days before
filing suit. The Written notice must include a description of the specific complaint and the
amount of actual damages and expenses, including attorneys’ fees, reasonably incurred in
asserting the claim. Plaintiff did not serve the notice required by the DTPA and Tean Insurance
Code prior to filing suit. Accordingly, Plaintiff did not provide proper notice of his claims 60
days prior to filing suit and Defendants are entitled to an abatement of this suit until 60 days after
sufficient notice is provided TEX. INS. CoDE § 54.155(d); TBX. BUs. & Cotviivt. CoDE §
17.505(c), (d); Hz'nes v. Hash, 843 S.W.Zd 464, 468-69 (Tex. 1992).

WHEREFORE, PREMISES CONSIDERED, Defendants Safeco Insurance Company of
Indiana and Michael Mattammal respectfully pray that this action be abated until 60 days after
proper Written notice is served in compliance With Section 541.154 of the Texas Insurance Code

and Section 17.505 of the Deceptive Trade Practices Act; that upon final hearing hereof, Plaintiff

 

Defendants’ Original Answer and Verified Plea in Abatement Page 2 of 4

 

 

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take nothing by reason cf this action, that Defendants be awarded their costs of ccuit, and for
such other and further relief to which they may show themselves justly entitled.
Respectfully submitted,

HANNA & PLAUT, L.L.P.

211 East Seventh Street, Suite 6000
Austin, Texas 78701

Telephone: (512) 472-7700
Facsimile: (512) 472-0205

%,W ta%=

V Caiherine L. Hanna
State Bar No. 08918280
Email: channa@hannaplaut.com
Laura D. Tubbs
State Bar No, 24052792
Email: ltubbs@hannaplaut.corn

ATTORNEYS FOR DEFENDANTS
CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing document has been delivered
by e~seivice and/or facsimile on this 6th day of March, 2015 to:

Vl'a Facsimile (210) 305-4219

Wes Holland

William N. Allan, IV

Allan, Nava, Glander & Holland, PLLC
825 W. Bitters Road, Suite 102

San Antonio, Texas 78216

Az‘torneysfor Plaintiij % M

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Defendants’ 0riginal Answer and Verified Plea in Abatement Page 3 of 4

 

 

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STATE OF TEXAS

VERIFICATION

§
§

COUNTY or TRAvIs §

BEFORE ME, the undeisigned authority in and for the State of Texas, on this day
peisonally appeared Lauia D. Tubbs known to me to be the same person whose name is
subscribed heieto, who being first duly swoin in the mannei provided by law on oath stated that
she' is duly qualified to make this affidavit on behalf of Safeco Insurance Company of Indiana
and Michael Mattamrnal, Defendants’ 111 the above entitled and numbered cause, that she has iead
Paragiaph HI of the O1iginal Answei and Veritied Plea in Abatement and the matteis stated
therein are within her personal knowledge and are true and correct

 

 

 

SUBSCRIBED AND SWORN TO BEFORE ME the undersigned authority, on this the
(`,/ day of Ma1 ch 2015, to certify which witness my hand and official seal of office.

 

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Defendants’ Original Answer and Verified Plea in Abatement Page 4 01"4

 

 

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EXHIBIT “B”

 

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Search Results

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Case Case
Number Sequence

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275399 0 2015-03-06 DEFENDANTS’ OR|G!NAL ANSWER AND VERlFlED PLEA lN 13
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EXHIBIT “C”

 

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Laura D. Tubbs

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EXHIBIT “D”

 

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INDEX OF ALL DOCUMENTS FILED WITH THE COURT

Notice of Removal of Action Under 28 U.S.C. §§ 1332 and l44l(a) (Diversity)
True and correct copies of all pleadings, process and orders served in this action
State Court Docket Sheet

List of all Counsel of Record

 

